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                                        ORDERED.

        Dated: October 29, 2019




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
In re

Jeffrey D Markham
and Christine L Markham
                                                  CHAPTER        13
                                                  CASE NO.       6:17-bk-04933-CCJ
      Debtor(s)
______________________________/

         AGREED ORDER ON DEBTOR’S OBJECTION TO THE POST PETITION
            MORTGAGE FEES, EXPENSES, AND CHARGES (DOC. NO. 32 )
         THIS CASE is before the Court on the Objection to the Post Petition Mortgage Fees,

Expenses, and Charges (Doc. No 32) filed by the Debtors. By submission of this order for entry,

the submitting counsel represents that the opposing party consents to its entry. Accordingly, it is

         ORDERED as follows:

         1.     The Debtors’ Objection is sustained in part as further set forth below.

         2.     The fees are allowed for the total sum of $200.00. The fees will remain on the

Debtors’ account as recoverable until they are paid in full. The remaining fees of $200.00 are

disallowed and discharged upon the Debtors obtaining a discharge in this bankruptcy.

         3.     ARVEST CENTRAL MORTGAGE COMPANY ("Creditor") has agreed that

there will not be additional property inspection charges to the Debtor during the pendency of the

bankruptcy case.
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Attorney Jessica Hicks is directed to serve a copy of this order on interested parties who are

non-CM/ECF users and to file a proof of service within three days of the entry of this order.
